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            EXHIBIT C
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                              §
    ULTRAVISION TECHNOLOGIES, LLC,            §
                                              §    Case No. 2:19-cv-00291-JRG-RSP
                           Plaintiff,         §    (LEAD CASE)
                                              §
             v.                               §    JURY TRIAL DEMANDED
                                              §
    HOLOPHANE EUROPE LIMITED,
                                              §
    ACUITY BRANDS LIGHTING DE
                                              §
    MEXICO DE RL DE CV, HOLOPHANE
                                              §
    S.A. DE CV and ARIZONA (TIANJIN)
                                              §
    ELECTRONICS PRODUCT TRADE CO.,
                                              §
    LTD.

                           Defendants.



        [DEFENDANT’S PROPOSED] VERDICT FORM FOR THE
   ULTRAVISION TECHNOLOGIES, LLC v. ACUITY BRANDS LIGHTING DE
                   MEXICO DE RL DE CV TRIAL

         In answering the following questions and completing this Verdict Form, you

   are to follow all the instructions I have given you in the Court’s Final Jury

   Instructions. Your answers to each question must be unanimous. Some of the

   questions contain legal terms that are defined and explained in detail in the Final

   Jury Instructions. You should refer to and consider the Final Jury Instructions as

   you answer the questions in this Verdict Form.
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          As used herein, the following terms have the following meanings:

       “Ultravision” or “Plaintiff” means Ultravision Technologies, LLC.

         “Defendant” or “Acuity Mexico” means Acuity Brands Lighting De Mexico

          S. de R.L. de C.V.

       The “’410 Patent” refers to U.S. Patent No. 8,870,410.

       The “’413 Patent” refers to U.S. Patent No. 8,870,413.

       The “’946 Patent” refers to U.S. Patent No. 10,223,946.

       The “Asserted Claims” collectively refers to:

                   o 10, 11, and 14 of the ‘410 patent,

                   o claim 1 of the ‘413 patent, and

                   o claims 1-6, 8-10, 12-14, and 16-17 of the ‘946 patent.
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         IT IS VERY IMPORTANT THAT YOU FOLLOW THE
        INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




        READ THEM CAREFULLY AND ENSURE THAT YOUR
               VERDICT COMPLIES WITH THEM
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   QUESTION NO. 1: Stream of Commerce

         Did Ultravision prove by a preponderance of evidence that Acuity Mexico

   placed the accused products into a stream of commerce with the expectation that

   the products would be purchased by consumers in Texas and that Acuity Mexico

   took additional action purposefully directed toward Texas?

         __________________

   If you answered this question “NO,” please do not answer any other questions,
   leave the remaining questions unanswered and go to the final page of the Jury
   Verdict form. (A “YES” is a finding for Ultravision; a “NO” is a finding for
   Acuity Mexico).
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   QUESTION NO. 2: Infringement

         Did Ultravision prove by a preponderance of evidence that Acuity Mexico

   directly infringed the Asserted Claims?

   If you find a particular claim was infringed, answer “Yes” (a “Yes” is a
   finding for Ultravision); otherwise, answer “No” (a “No” is a finding for
   Acuity Mexico):

          ‘410 patent

                Claim 10 _____                     Claim 11 _____

                Claim 14 _____

         ‘413 patent

                Claim 1 _____

         ‘946 patent

                Claim 1 _____                      Claim 2 _____

                Claim 3 _____                      Claim 4 _____

                Claim 5 _____                      Claim 6 _____

                Claim 8 _____                      Claim 9 _____

                Claim 10 _____                     Claim 12 _____

                Claim 13 _____                     Claim 14 _____

                Claim 16 _____                     Claim 17 _____


   If you answered this question “NO” for all of the claims, do not answer any other
   questions, leave the remaining questions unanswered and go to the final page of
   the Jury Verdict form.
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   QUESTION NO. 3: Invalidity

         For any Asserted Claim that you found to be infringed by Acuity Mexico,

   did Acuity Mexico prove by clear and convincing evidence that the Asserted

   Claim(s) is invalid?

   If you find the claim invalid, answer “Yes” (a “Yes” is a finding for Acuity
   Mexico); otherwise, answer “No” (a “No” is a finding for Ultravision):

         ‘410 patent

                 Claim 10 _____                    Claim 11 _____

                 Claim 14 _____

         ‘413 patent

                Claim 1 _____

         ‘946 patent

                Claim 1 _____                      Claim 2 _____

                Claim 3 _____                      Claim 4 _____

                Claim 5 _____                      Claim 6 _____

                Claim 8 _____                      Claim 9 _____

                Claim 10 _____                     Claim 12 _____

                Claim 13 _____                     Claim 14 _____

                Claim 16 _____                     Claim 17 _____

   If you answered this question “YES” for all of the claims for which you provided
   an answer, do not answer any other questions, leave the remaining questions
   unanswered and go to the final page of the Jury Verdict form.
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   Answer Question No. 4 ONLY if you found an Asserted Claim to be BOTH
   infringed (Yes for Question 2) and not invalid (No for Question 3).

   QUESTION NO. 4: Reasonable Royalty

         What sum of money, if paid now in cash, do you find based on a

   preponderance of the evidence would fairly and reasonably compensate Ultravision

   for use of the claimed inventions by Acuity Mexico, through the date of trial?

   Answer in United States Dollars and Cents, if any:



         $________________________________



         If you used a percentage (%) to determine the amount above, what

   percentage did you use?



         _______________________________%
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                     FINAL PAGE OF JURY VERDICT FORM

         You have now reached the end of the Verdict Form and should review it to

   ensure it accurately reflects your unanimous determinations. The Jury Foreperson

   should then sign and date the Verdict Form in the spaces below. Once this is done,

   notify the Court Security Officer that you have reached a verdict. The Jury

   Foreperson should keep the Verdict Form and bring it when the jury is brought

   back into the courtroom.



   Signed this ____ day of March, 2021.

                                                _________________________
                                                JURY FOREPERSON
